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8                            UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11      BENJAMIN PAVONE,                              Case No.: 3:21-cv-1743-BTM-BLM
                                     Plaintiff,
12
                                                      ORDER GRANTING JOINT
13                                                    MOTION TO CONTINUE AND
        v.                                            SETTING NEW BRIEFING
14
        GEORGE CARDONA, Chief Trial                   SCHEDULE
15      Counsel, Office of the Chief Trial
        Counsel of the State Bar of                   [ECF NO. 17]
16
        California; LEAH WILSON,
17      Executive Director of the State Bar
18      of California; ANDREW VASICEK,
        Senior Attorney, Office of Chief Trial
19      Counsel,
20                               Defendants.
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1           On October 19, 2021, the parties filed a joint motion to continue the October
2     20, 2021 hearing on Plaintiff’s Application for a Temporary Restraining Order.
3     (ECF No. 17.) The joint motion is GRANTED. The hearing is continued to 3:30
4     p.m. on November 8, 2021 in Courtroom 15B in the James M. Carter and Judith
5     N. Keep United States Courthouse, 333 West Broadway, San Diego, CA 92101.
6           Defendants may file a response by October 29, 2021. Plaintiff may file a
7     reply by November 5, 2021.
8           The parties should be prepared to address why the case should not be
9     dismissed under Younger v. Harris, 401 U.S. 37 (1971). See Hirsh v. Justs. of
10    Supreme Ct. of State of Cal., 67 F.3d 708, 712 (9th Cir. 1995) (“Younger and its
11    progeny generally direct federal courts to abstain from granting injunctive or
12    declaratory relief that would interfere with pending state judicial proceedings”);
13    Canatella v. California, 404 F.3d 1106, 1110 (9th Cir. 2005) (“California's attorney
14    discipline proceedings are judicial in character for purposes of Younger
15    abstention”).
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18    IT IS SO ORDERED.
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20    Dated: October 20, 2021
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